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                                  THE UNITED STATES DISTRICT COURT
                                          DISTRICT OF UTAH


    UNITED STATES OF AMERICA,                         MEMORANDUM DECISION AND
                                                      ORDER GRANTING MOTION TO
                               Plaintiff,             STRIKE TRIAL DATES AND SET
                                                      CHANGE OF PLEA HEARING
    v.
                                                      Case No. 4:21-cr-00036-DN
    JESUS ANTONIO CASTRO SOTO; and
    MARIA VALENTINA MARIN LOPEZ,                      District Judge David Nuffer

                               Defendants.


           Based on Defendant Jesus Antonio Castro Soto’s (“Soto”) Motion to Strike Trial Date

and Set Change of Plea Hearing (“Motion”) 1 and good cause appearing,

           IT IS HEREBY ORDERED that the Motion is GRANTED. The jury trial scheduled to

begin June 22, 2021, is STRICKEN and all corresponding trial dates 2 are vacated. Soto’s case

shall be set for a change of plea hearing before Magistrate Judge Paul Kohler.

           AS TO CODEFENDANT MARIA VALENTINA MARIN LOPEZ (“Lopez”), the trial

and related dates are also stricken. However, a status conference shall be set to discuss Lopez’s

trial date.

           General Order 21-003 placed the court in Phase II of the phased reopening plan effective

April 1, 2021. It also ordered the very limited resumption of criminal trials effective April 29,

2021. Criminal cases awaiting trial are being triaged based on numerous factors and scheduled

for trial in the special proceedings courtroom in Salt Lake City for the foreseeable future. It is



1
    Docket no. 29, filed Jun. 4, 2021.
2
    Trial Order, docket no. 24, filed May 24, 2021.
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also possible to hold single defendant criminal trials in St. George but the trials must be

prioritized according to custodial status of the defendant and age of the case. Time under the

Speedy Trial Act for all criminal cases, including this case, has been excluded from March 16,

2020, through June 30, 2021, based on the “ends of justice” due to issues relating to the

coronavirus outbreak in Utah and nationwide. But even then, only one trial at a time can be held.

       It is imperative that counsel not hold trial dates that will not be used for a trial.

Counsel must consult with their clients and witnesses and keep the court informed.

       Signed June 7, 2021.

                                              BY THE COURT


                                              ________________________________________
                                              David Nuffer
                                              United States District Judge




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